                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )
                                                  )       No. 3:15-CR-36
v.                                                )       (VARLAN/SHIRLEY)
                                                  )
                                                  )
LAURA NIX,                                        )
                                                  )
       Defendant.                                 )


                                           ORDER

       This case is before the Court pursuant to 28 U.S.C. § 636 on Defendant’s Motion to

Withdraw Request for Detention Hearing, [Doc. 35], filed on April 30, 2015. Defendant filed a

Motion for Detention Hearing, [Doc. 28], on April 20, 2015. A detention hearing was set before

the undersigned for May 1, 2015 at 9:30 a.m.

       Defendant’s Motion to Withdraw Request for Detention Hearing, [Doc. 35], is hereby

GRANTED. Defendant’s Motion for Detention Hearing, [Doc. 28], is withdrawn and the

detention hearing set for May 1, 2015 at 9:30 a.m. is hereby CANCELLED.

       IT IS SO ORDERED.

                                           ENTER:

                                                s/ C. Clifford Shirley, Jr.
                                           United States Magistrate Judge




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